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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                       Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                             Phone: (312) 435-5850
             Chicago, Illinois 60604                                                   www.ca7.uscourts.gov




                                                    INSTANTER ORDER
 March 20, 2019


                                         EDITH MCCURRY,
                                         Plaintiff - Appellant

                                         v.
 No. 18-3206

                                         KENCO LOGISTIC SERVICES, LLC, a Tennessee Limited Liability
                                         Company, et al.,
                                         Defendants - Appellees

  Originating Case Information:

 District Court No: 2:16-cv-02273-CSB-EIL
 Central District of Illinois
 District Judge Colin S. Bruce


Upon consideration of the MOTION FOR LEAVE TO FILE APPELLANT’S REPLY
BRIEF INSTANTER, filed on March 18, 2019, by counsel for the appellant,

IT IS ORDERED that the motion is GRANTED. The clerk of this court shall file
instanter the tendered reply brief of the appellant.

 form name: c7_InstanterOrderFiled(form ID: 123)
